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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

ROSANNE KARR,

                       Plaintiff,

v.                                                       Case No: 6:21-cv-878-CEM-EJK

NADIC ENGINEERING
SERVICES INC. and GODWIN N.
NNADI,

                       Defendants.

                         REPORT AND RECOMMENDATION

          This cause comes before the Court on the parties’ Second Renewed Joint

Motion for Approval of Parties’ Second Amended Settlement Agreement (the

“Motion”), filed June 24, 2022. (Doc. 28.) Upon consideration, I respectfully

recommend that the Motion be granted in part.

     I.      BACKGROUND

          Plaintiff instituted this action against Defendants in Florida state court, alleging

that Defendants failed to pay Plaintiff overtime compensation in violation of the Fair

Labor Standards Act of 1938 (“FLSA”), 29 U.S.C. §§ 201–219. (Doc. 1-3.) In her

Complaint, Plaintiff states she worked for Defendant for approximately two years,

during which time she “typically worked 40–45 hours per week,” and “was eligible to

be paid overtime pay at time and one half her regular hourly rate,” but that Defendants

only paid Plaintiff her regular hourly rate for all hours worked, including overtime
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hours. (Id. ¶¶ 19–25.) Defendants subsequently removed the action to this Court (see

Doc. 1) and thereafter filed an answer and affirmative defenses. (Doc. 7.) Following

several joint motions for settlement approval, which the undersigned denied without

prejudice due to various deficiencies, the parties filed the instant Motion, seeking

approval of the settlement agreement (the “Agreement” or the “Settlement

Agreement”), pursuant to Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1354–

55 (11th Cir. 1982).

   II.      STANDARD

         “The principal congressional purpose in enacting the Fair Labor Standards Act

of 1938 was to protect all covered workers from substandard wages and oppressive

working hours, ‘labor conditions [that are] detrimental to the maintenance of the

minimum standard of living necessary for health, efficiency and general well-being of

workers.’” Barrentine v. Arkansas-Best Freight Sys., Inc., 450 U.S. 728, 739 (1981)

(alteration in original) (quoting 29 U.S.C. § 202(a)). “Any employer who violates the

provisions of section 206 or section 207 of [the FLSA] shall be liable to the employee

or employees affected in the amount of their unpaid minimum wages, or their unpaid

overtime compensation, . . . and in an additional equal amount as liquidated

damages.” 29 U.S.C. § 216(b). Section 206 establishes the federally mandated

minimum hourly wage, and § 207 prescribes overtime compensation of “one and one-

half times the regular rate” for each hour worked in excess of forty hours during a

given workweek. The provisions of the FLSA are mandatory and “cannot be abridged

by contract or otherwise waived.” Barrentine, 450 U.S. at 740. To permit otherwise



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would “‘nullify the purposes’ of the [FLSA] and thwart the legislative policies it was

designed to effectuate.” Id. (quoting Brooklyn Sav. Bank v. O’Neil, 324 U.S. 697, 707

(1945)).

       The parties seek judicial review and a determination that their settlement is a

“fair and reasonable resolution of a bona fide dispute” over FLSA issues. See Lynn’s

Food Stores, 679 F.2d at 1354–55. If a settlement is not supervised by the Department

of Labor, the only other route for a compromise of FLSA claims is provided in the

context of suits brought directly by employees against their employers under § 216(b)

to recover back wages for FLSA violations. Id. at 1353. “When employees bring a

private action for back wages under the FLSA, and present to the district court a

proposed settlement, the district court may enter a stipulated judgment after

scrutinizing the settlement for fairness.” Id.

       The Eleventh Circuit has held that “[s]ettlements may be permissible in the

context of a suit brought by employees under the FLSA for back wages because

initiation of the action by the employees provides some assurance of an adversarial

context.” Id. at 1354. In adversarial cases:

              The employees are likely to be represented by an attorney
              who can protect their rights under the statute. Thus, when
              the parties submit a settlement to the court for approval, the
              settlement is more likely to reflect a reasonable compromise
              of disputed issues than a mere waiver of statutory rights
              brought about by an employer’s overreaching. If a
              settlement in an employee FLSA suit does reflect a
              reasonable compromise over issues, such as FLSA coverage
              or computation of back wages, that are actually in dispute;
              we allow the district court to approve the settlement in order




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               to promote the policy of encouraging settlement of
               litigation.

Id.

         When evaluating an FLSA settlement agreement, the district court considers

whether the settlement is fair and reasonable to the employee, the “internal” factors,

and whether the settlement frustrates the purpose of the FLSA, the “external” factors.

Dees v. Hyrdradry, Inc., 706 F. Supp. 2d 1227, 1241 (M.D. Fla. 2010); Moreno v. Regions

Bank, 729 F. Supp. 2d 1346, 1350–51 (M.D. Fla. 2010). Factors considered “internal”

include: “(1) the existence of fraud or collusion behind the settlement; (2) the

complexity, expense, and likely duration of the litigation; (3) the stage of the

proceedings and the amount of discovery completed; (4) the probability of plaintiffs’

success on the merits; (5) the range of possible recovery; and (6) the opinions of the

counsel.” Hamilton v. Frito-Lay, Inc., No. 6:05-CV-592-ORL-22JGG, 2007 WL 328792,

at *2 (M.D. Fla. Jan. 8, 2007). There is a “‘strong presumption’ in favor of finding a

settlement fair.” Id. (quoting Cotton v. Hinton, 559 F.2d 1336, 1331 (5th Cir. 1977)). 1

      III.   DISCUSSION

             A. The Settlement Amount

         Under 29 U.S.C. § 216(b), an employee damaged by a violation of the FLSA is

entitled to unpaid overtime compensation plus an additional, equal amount, as

liquidated damages. 29 U.S.C. § 216(b) (“Any employer who violates the provisions


1
  See Bonner v. City of Prichard, Ala., 661 F.2d 1206, 1209 (11th Cir. 1981) (holding all
decisions from the Fifth Circuit handed down prior to October 1, 1981, are binding on
the Eleventh Circuit).



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of [the FLSA] shall be liable to the employee . . . affected in the amount of their unpaid

minimum wages, or their unpaid overtime compensation, . . . and in an additional

equal amount as liquidated damages.”).

      According to the Settlement Agreement, Defendants have agreed to pay

Plaintiff a total of $7,000.00: $3,500.00 for “any and all alleged minimum wages

and/or overtime wages” and $3,500.00 in liquidated damages. (Doc. 28-1 ¶ 5.)

Plaintiff initially sought damages in excess of $30,000.00. (Doc. 1-3.) Because Plaintiff

will receive less than the maximum amount to which she claimed she was entitled to

under the FLSA, she has compromised his claim within the meaning of Lynn’s Food,

679 F.2d at 1354–55.

      On review, I find the $7,000.00 total Plaintiff has agreed to accept in satisfaction

of her claim to be fair and reasonable in comparison to the original claim, considering

that all parties are represented by counsel and wish to avoid the risk and expense of

further litigation. (See Doc. 28 at 3–4.) I also find this amount fair in relation to the

nature of the dispute between the parties contesting Plaintiff’s entitlement to overtime

payments. Thus, I recommend finding that the settlement sum represents a fair

resolution of a bona fide dispute between the parties and that Plaintiff has not unfairly

compromised her claim.

          B. Attorney’s Fees

      Plaintiff’s attorney will receive $5,000.00 for fees and costs. (Doc. 28-1 ¶ 5.)

Pursuant to 29 U.S.C. § 216(b), “[t]he court [in an FLSA action] shall . . . allow a

reasonable attorney’s fee to be paid by the defendant, and costs of the action.” The



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parties represent that this amount was negotiated separately from the amount received

by Plaintiff, and the settlement is otherwise reasonable on its face; therefore, further

review is not required. (Docs. 28 at 3; 28-1 ¶ 5); Bonetti v. Embarq Mgmt. Co., 715 F.

Supp. 2d 1222, 1228 (M.D. Fla. 2009) (stating that if the parties “represent[] that the

plaintiff’s attorneys’ fee was agreed upon separately and without regard to the amount

paid to the plaintiff, . . . the Court will approve the settlement without separately

considering the reasonableness of the fee to be paid to plaintiff’s counsel.”).

          C. Release

      In return for payment, Plaintiff has agreed to the following release:

             6. The Plaintiff, in consideration of this Agreement and the
             mutual promises set forth herein, and for other good and
             valuable consideration received from or on behalf of the
             Defendants, receipt of which is hereby acknowledged,
             hereby completely releases and forever discharges the Defendants
             from any and all claims asserted, or which could have been
             asserted, in the Civil Action, including, but not limited to,
             any and all claims under the FLSA.

             7. The Plaintiff understands and acknowledges that there
             may be facts or information which the Plaintiff does not
             know or suspect to exist in the Plaintiffs favor at the time
             the Plaintiff executes this Agreement, and the Plaintiff
             agrees that this Agreement is intended to and does
             extinguish any and all claims the Plaintiff might have based
             on such facts or information.

             8. Other than the Civil Action, the Plaintiff represents and
             warrants that the Plaintiff has never commenced or filed,
             and the Plaintiff covenants and agrees never to commence,
             file, aid, or in any way prosecute or cause to be commenced
             or prosecuted against the Defendant Releasees, or any of
             them, any action, charge, complaint, or other proceeding,
             whether administrative, judicial, legislative, or otherwise,
             including, but not limited to, any action or proceeding for




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             attorneys' fees, experts' fees, disbursements, or costs, based
             upon or seeking relief on account of actions or failures to
             act by the Defendant Releasees, or any of them, which may
             have occurred or failed to occur before the Plaintiffs
             execution of this Agreement.

(the “Release”) (Doc. 28-1 ¶¶ 6–8.)

      General releases in FLSA cases are frequently viewed as “a ‘side deal’ in which

the employer extracts a gratuitous (although usually valueless) release of all claims in

exchange for money unconditionally owed to the employee” and therefore, such

releases “confer[] an uncompensated, unevaluated, and unfair benefit on the

employer.” Moreno, 729 F. Supp. 2d at 1351–52 (footnote omitted). As such, “[a]

compromise of an FLSA claim that contains a pervasive release of unknown claims

fails judicial scrutiny.” Id. at 1352. Furthermore, releases given to numerous unnamed

individuals, collectively referred to as “Releasees,” are insufficient where the parties

are not identified. Correa v. House of Glass, Inc., No. 6:17-cv-676-Orl-28TBS, 2017 WL

8794847, at *4 (M.D. Fla. Oct. 19, 2017) (recommending rejection of the settlement

agreement in part because the release extended to numerous unnamed individuals),

denied as moot by, 2018 WL 1801207 (denying the R&R as moot due to the parties’

subsequent filing of a renewed motion for settlement approval); Schultz v. Tartini at

Rock Springs Ridge, LLC, No. 6:17-cv-815-Orl-37KRS, 2017 WL 11062615, at *2 (M.D.

Fla. Sept. 22, 2017) (ordering the parties to file a renewed motion for settlement

agreement approval in part because the motion did not address the breadth of the

release given to defendants).




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      Here, the Release appears to extend beyond Plaintiff’s FLSA claims, as it refers

to “any and all claims asserted . . . including, but not limited to, any and all claims

under the FLSA.” (Doc. 28-1 ¶ 6.) Additionally, the Release states Plaintiff “covenants

and agrees never to commence, file, aid, or in any way prosecute or cause to be

commenced or prosecuted against the Defendant Releasees, or any of them, any

action, charge, complaint, or other proceeding, whether administrative, judicial,

legislative, or otherwise . . .” (Id. ¶ 8.) This Release is unquestionably overbroad, and

the parties do not state that Plaintiff has otherwise been provided separate

consideration for such a general release.

      However, the Settlement Agreement contains a severability provision that

provides:

             Should any part, term, or provision of this Agreement be
             declared or determined by a court of competent jurisdiction
             to be illegal, invalid, or unenforceable, the validity of the
             remaining parts, terms, or provisions will not be affected
             thereby, and said illegal, invalid or unenforceable part,
             term, or provision will be severed and deemed not to be a
             part of this Agreement.

(the “Severability Provision”) (Doc. 28-1 ¶ 9).

      Courts in this District routinely approve settlement agreements while striking

unfair or unenforceable provisions of the agreement when the agreement contains a

severability provision. See, e.g., Encarnacion v. Dannix Painting LLC, No. 6:18-cv-682-

Orl-41KRS, 2018 WL 5084749, at *3 (M.D. Fla. Aug. 13, 2018), report and

recommendation adopted, 2018 WL 5840509 (M.D. Fla. Nov. 8, 2018) (recommending

that the contradictory provisions and the general release provision be stricken where



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the settlement agreement contained a severability provision); Goern v. Everglades Day

Safari, Inc., No. 2:16-cv-755-FtM-99MRM, 2017 WL 3328242, at *3 (M.D. Fla. July

14, 2017), report and recommendation adopted, No. 2:16-cv-755-FtM-99MRM, 2017 WL

3316369 (M.D. Fla. Aug. 2, 2017) (recommending that the plaintiff’s “waiver and

general release” provision be stricken where the settlement agreement contained a

severability provision); Ramnaraine v. Super Transp. of Fla., LLC, No. 6:15-cv-710-Orl-

22GJK, 2016 WL 1376358, at *4 (M.D. Fla. Mar. 28, 2016), report and recommendation

adopted, No. 6:15-cv-710-Orl-22GJK, 2016 WL 1305353 (M.D. Fla. Apr. 4, 2016)

(recommending that the non-disparagement and confidentiality provisions be stricken

from a settlement agreement that contained a severability provision).

      As the Severability Provision permits striking illegal, invalid, or unenforceable

terms or provisions, I recommend that the Court strike from the Release the phrase

“in the Civil Action, including, but not limited to, any and all claims” from paragraph

6, in addition to the entirety of paragraph 8.

   IV.    RECOMMENDATION

      Upon consideration of the foregoing, I respectfully recommend that the Court:

      1. GRANT IN PART the parties’ Second Renewed Joint Motion for Approval

          of Parties’ Second Amended Settlement Agreement (Docs. 28, 28-1);

      2. STRIKE the phrase “in the Civil Action, including, but not limited to, any

          and all claims” from paragraph 6 of the Settlement Agreement, in addition

          to the entirety of paragraph 8. (See Doc. 28-1 ¶¶ 6, 8.)




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       3. FIND that the parties’ Settlement Agreement (Doc. 28-1), as revised, is a

           fair and reasonable resolution of a bona fide dispute under the FLSA;

       4. DISMISS the case WITH PREJUDICE; and

       5. DIRECT the Clerk of Court to close the file.

                                NOTICE TO PARTIES

       The party has fourteen days from the date the party is served a copy of this

 report to file written objections to this report’s proposed findings and

 recommendations or to seek an extension of the fourteen-day deadline to file written

 objections. 28 U.S.C. § 636(b)(1)(C). A party’s failure to file written objections waives

 that party’s right to challenge on appeal any unobjected-to factual finding or legal

 conclusion the district judge adopts from the Report and Recommendation. See 11th

 Cir. R. 3-1; 28 U.S.C. § 636(b)(1). If the parties do not object to this Report and

 Recommendation, then they may expedite the approval process by filing notices of

 no objection.

       Recommended in Orlando, Florida on July 25, 2022.




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